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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                            Case No. 15-cv-24363-CIV-WILLIAMS

   MARJAM SUPPLY COMPANY
   OF FLORIDA, LLC, et al.

         Plaintiffs / Counter-Defendants,

   vs.

   PLITEQ, INC. and PAUL DOWNEY,

        Defendants / Counter-Plaintiffs.
   ________________________________/

                                            ORDER

         THIS MATTER is before the Court on Magistrate Judge Jacqueline Becerra’s

   report and recommendation (DE 388) (“Report”) on Plaintiffs / Counter-Defendants’

   motion to post a supersedeas bond and a stay of execution pending appeal (DE 384).

   Defendants / Counter-Plaintiffs did not file objections to the Report and the time to do so

   has now passed. Accordingly, upon an independent review of the Report, the record,

   and applicable case law, it is ORDERED AND ADJUDGED as follows:

         1. The Report (DE 388) is AFFIRMED AND ADOPTED.

         2. Plaintiffs / Counter-Defendants’ motion (DE 384) is GRANTED.

         3. Plaintiffs / Counter-Defendants shall post a supersedeas bond of

             $1,638,054.98 within seven (7) days of this Order.

         4. The execution of the Court’s Final Judgment for Attorneys’ Fees and Costs

             (DE 383) is STAYED pending Plaintiffs / Counter-Defendants’ appeal to the

             Eleventh Circuit.
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           DONE AND ORDERED in Chambers in Miami, Florida, this 12th day of May,

   2021.




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